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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

ANTOINE SHARP,                             )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )         Case No. 4:22 CV 29 RWS
                                           )
CVS HEALTH SOLUTIONS, LLC,                 )
                                           )
            Defendant.                     )

                          MEMORANDUM AND ORDER

      Both parties requesting the Court to compel arbitration [9, 15], and having

reviewed the motions and finding that the motions to compel should be granted for

the reasons stated therein,

      IT IS HEREBY ORDERED that the motions to compel arbitration [9, 15]

are granted, and this action is dismissed without prejudice to the parties’ right to

submit their dispute to arbitration.

      IT IS FURTHER ORDERED that all remaining pending motions [16] are

denied as moot.

      A separate Order of Dismissal is entered this same date.



                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE

Dated this 9th day of February, 2022.
